Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 1 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 2 of 15




                                          4:21-mj-2016
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 3 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 4 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 5 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 6 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 7 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 8 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 9 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 10 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 11 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 12 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 13 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 14 of 15
Case 4:21-cr-00517 Document 1 Filed on 09/22/21 in TXSD Page 15 of 15
